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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                    4:12CR3056
      vs.
                                                       MEMORANDUM AND ORDER
KENNAN RASHON MALLORY,
                     Defendants.


       Defendant has moved to continue the trial currently set for December 11, 2012.
(Filing No. 62). As explained in the motion, the parties are currently engaged in plea
discussions. The motion to continue is unopposed. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant’s motion to continue, (filing no. 62), is granted.

       2)     The trial of this case is set to commence before the Honorable John M.
              Gerrard, United States District Judge, in Courtroom 1, United States
              Courthouse, Lincoln, Nebraska, at 9:00 a.m. on February 11, 2013, or as soon
              thereafter as the case may be called, for a duration of five (5) trial days. Jury
              selection will be held at commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representations of counsel, the Court further finds that the ends of justice will
              be served by continuing the trial; and that the purposes served by continuing
              the trial date in this case outweigh the interest of the defendant and the public
              in a speedy trial. Accordingly, the additional time arising as a result of the
              granting of the motion, the time between today’s date and February 11, 2013,
              shall be deemed excludable time in any computation of time under the
              requirements of the Speedy Trial Act, because despite counsel’s due diligence,
              additional time is needed to adequately prepare this case for trial and failing to
              grant additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(1) & (h)(7).

       November 30, 2012.
                                                   BY THE COURT:
                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
